            Case 1:22-cv-03797-NRB Document 1 Filed 05/10/22 Page 1 of 12



                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


 CATHERINE COFFMAN,                                        Case No. _____________

                         Plaintiff,
                                                           COMPLAINT FOR VIOLATIONS
            v.                                             OF THE FEDERAL SECURITIES
                                                           LAWS
 MERITOR, INC., WILLIAM R. NEWLIN,
 CHRIS VILLAVARAYAN, STEVEN
                                                           JURY TRIAL DEMANDED
 BERINGHAUSE, JAN A. BERTSCH,
 RODGER L. BOEHM, IVOR J. EVANS,
 ELIZABETH A. FESSENDEN, FAZAL
 MERCHANT, THOMAS L. PAJONAS, and
 LLOYD G. TROTTER,

                         Defendants.




       Plaintiff Catherine Coffman (“Plaintiff”), by and through her undersigned counsel, for her

complaint against defendants, alleges upon personal knowledge with respect to herself, and upon

information and belief based upon, inter alia, the investigation of counsel as to all other allegations

herein, as follows:

                         NATURE AND SUMMARY OF THE ACTION

       1.        This is a stockholder action brought by Plaintiff against Meritor, Inc. (“Meritor” or

the “Company”) and the members of Meritor’s Board of Directors (the “Board” or the “Individual

Defendants”) for their violations of Sections 14(a) and 20(a) of the Securities Exchange Act of

1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(a), 78t(a), and U.S. Securities and Exchange

Commission (“SEC”) Rule 14a-9, 17 C.F.R. §240.14a-9 (“Rule 14a-9”), in connection with the

Board’s attempt to sell Meritor to Cummins Inc. (“Cummins”) (the “Proposed Transaction”).
            Case 1:22-cv-03797-NRB Document 1 Filed 05/10/22 Page 2 of 12




       2.       On February 21, 2022, Meritor entered into an Agreement and Plan of Merger with

Cummins Inc. (“Cummins”) and its wholly owned subsidiary Rose NewCo Inc. (“Merger Sub”)

(the “Merger Agreement”). Under the terms of the Merger Agreement, Meritor stockholders will

be entitled to receive $36.50 in cash per share of Meritor common stock.

       3.       On April 18, 2022, the Board authorized the filing of the materially incomplete and

misleading Schedule 14A Definitive Proxy Statement (the “Proxy Statement”) with the SEC.

Specifically, the Proxy Statement, which recommends that Meritor stockholders vote their shares

in favor of the Proposed Transaction, contains materially incomplete and misleading information

concerning, among other things: (i) the Company’s financial projections and the financial

analyses that support the fairness opinion provided by the Company’s financial advisor, J.P.

Morgan Securities LLC (“J.P. Morgan”); and (ii) potential conflicts of interest faced by Company

insiders.

       4.       The failure to adequately disclose such material information constitutes a violation

of Sections 14(a) and 20(a) of the Exchange Act as Meritor stockholders need such information

in order to make a fully informed decision in connection with the Proposed Transaction.

       5.       The special meeting for Meritor stockholders to vote on the Proposed Transaction

is currently scheduled for May 26, 2022. It is imperative that such Exchange Act violations are

promptly cured to enable Plaintiff and Meritor’s other shareholders to make an informed decision

whether to vote their shares in favor of the Proposed Transaction. Therefore, Plaintiff seeks to

enjoin the stockholder vote unless and until such Exchange Act violations are cured.

                                 JURISDICTION AND VENUE

       6.       This Court has jurisdiction over the claims asserted herein for violations of Sections

14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder pursuant to




                                                  2
              Case 1:22-cv-03797-NRB Document 1 Filed 05/10/22 Page 3 of 12




Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. § 1331 (federal question

jurisdiction).

         7.       Personal jurisdiction exists over the defendants because each defendant either

conducts business in or maintains operations within this District, or is an individual with sufficient

minimum contacts with this District so as to make the exercise of jurisdiction by this Court

permissible under traditional notions of fair play and substantial justice.

         8.       Venue is proper in this District pursuant to 28 U.S.C. § 1391 because defendants

are found or are inhabitants or transact business in this District. Meritor’s common stock trades

on the New York Stock Exchange, which is headquartered in this District, rendering venue in this

District appropriate.

                                           THE PARTIES

         9.       Plaintiff is, and has been at all relevant times, the owner of shares of Meritor

common stock.

         10.      Defendant Meritor is a Delaware corporation, with its principal executive offices

located at 2135 West Maple Road, Troy, Michigan 48084. Meritor’s shares trade on the New York

Stock Exchange under the ticker symbol “MTOR.”

         11.      Defendant William R. Newlin has been Independent Chairman of the Board and a

director of the Company at all relevant times.

         12.      Defendant Chris Villavarayan has been Chief Executive Officer, President, and a

director of the Company at all relevant times.

         13.      Defendant Steven Beringhause has been a director of the Company at all relevant

times.

         14.      Defendant Jan A. Bertsch has been a director of the Company at all relevant times.




                                                   3
           Case 1:22-cv-03797-NRB Document 1 Filed 05/10/22 Page 4 of 12




         15.      Defendant Rodger L. Boehm has been a director of the Company at all relevant

times.

         16.      Defendant Ivor J. Evans has been a director of the Company at all relevant times.

         17.      Defendant Elizabeth A. Fessenden has been a director of the Company at all

relevant times.

         18.      Defendant Fazal Merchant has been a director of the Company at all relevant times.

         19.      Defendant Thomas L. Pajonas has been a director of the Company at all relevant

times.

         20.      Defendant Lloyd G. Trotter has been a director of the Company at all relevant

times.

         21.      Defendants identified in paragraphs 11-20 are collectively referred to herein as the

“Board” or the “Individual Defendants.”

                                 SUBSTANTIVE ALLEGATIONS

Background of the Company

         22.      Founded in 1909, Meritor designs, develops, manufactures, markets, distributes,

sells, services, and supports integrated systems, modules, and components in North America,

South America, Europe, and the Asia Pacific. The Company operates through two business

segments: (i) Commercial Truck; and (ii) Aftermarket and Industrial. It offers axles, including

front steer and rear drive axles for medium- and heavy-duty commercial vehicles, heavy-duty

trailer axles, suspension modules and brake products comprising drum and disc brakes, universal

joints and driveline components, trailer air suspension systems and products, transfer cases and

drivelines, and advanced suspension modules for use in light-, medium- and heavy-duty military

tactical wheeled vehicles. Meritor also offers air brakes and wheel-end components to medium-




                                                    4
          Case 1:22-cv-03797-NRB Document 1 Filed 05/10/22 Page 5 of 12




and heavy-duty commercial vehicle manufacturers, and electric drive systems for terminal tractors

and medium and heavy-duty trucks and buses. In addition, Meritor sells complementary products,

including third-party and private label items, such as brake shoes and friction materials, automatic

slack adjusters, yokes and shafts, wheel-end hubs and drums, ABS and stability control systems,

shock absorbers and air springs, and air brakes. These products are sold under the Meritor, Euclid,

Trucktechnic, US Gear, AxleTech, and Mach brands primarily to original equipment

manufacturers, their parts marketing operations, and their dealers, as well as other independent

distributors and service garages in the aftermarket industry.

The Proposed Transaction

       23.     On February 22, 2022, Meritor announced that it had entered into the Proposed

Transaction, stating, in relevant part:

       Columbus, Indiana and Troy, Michigan (Feb. 22, 2022) – Cummins Inc. (NYSE:
       CMI) and Meritor, Inc. (NYSE: MTOR) today announced that they have entered
       into a definitive agreement under which Cummins will acquire Meritor, a global
       leader of drivetrain, mobility, braking, aftermarket and electric powertrain solutions
       for commercial vehicle and industrial markets. Under the terms of the agreement,
       Cummins will pay $36.50 in cash per Meritor share, for a total transaction value of
       approximately $3.7 billion, including assumed debt and net of acquired cash.

       “The acquisition of Meritor is an important milestone for Cummins. Meritor is an
       industry leader, and the addition of their complementary strengths will help us
       address one of the most critical technology challenges of our age: developing
       economically viable zero carbon solutions for commercial and industrial
       applications,” said Tom Linebarger, Chairman and CEO, Cummins. “Climate
       change is the existential crisis of our time and this acquisition accelerates our ability
       to address it. Our customers need economically viable decarbonized solutions.

       “In addition, our communities and our planet depend on companies like Cummins
       to invest in and develop these solutions,” Linebarger added. This acquisition adds
       products to our components business that are independent of powertrain
       technology, and by leveraging our global footprint we expect to accelerate the
       growth in Meritor’s core axle and brake businesses. There is also a compelling
       financial case for this acquisition, with significant synergies expected in SG&A,
       supply chain operations and facilities optimization.”




                                                   5
  Case 1:22-cv-03797-NRB Document 1 Filed 05/10/22 Page 6 of 12




“This agreement with Cummins builds on Meritor’s track-record of outstanding
performance and service to our customers. Our offerings will continue to play an
important, strategic role as commercial vehicles transform to become electric and
autonomous,” said Chris Villavarayan, CEO and President of Meritor. “At closing,
Meritor shareholders will receive immediate value at a compelling 48% premium
to the Meritor trading price as of Feb. 18, 2022, and customers will benefit from
enhanced capabilities in technology and the ability to accelerate investment in axle
and brake development and EV adoption. Our global team members and their
commitment to excellence helped make this transaction possible and will fuel our
innovations as we embark on this next chapter in our longstanding legacy.”

Strategic Rationale
Meritor is an industry leader in axle and brake technology. The integration of
Meritor’s people, technology and capabilities will position Cummins as one of the
few companies able to provide integrated powertrain solutions across combustion
and electric power applications. This is the right time to pursue this combination as
demand for decarbonized solutions accelerates. Cummins believes eAxles will be
a critical integration point within hybrid and electric drivetrains. By accelerating
Meritor’s investment in electrification and integrating development within its New
Power business, Cummins expects to deliver market-leading solutions to global
customers.

Meritor has a legacy dating back more than 110 years. The company, which is
headquartered in Troy, MI, has more than 9,600 employees serving commercial
truck, trailer, off-highway, defense, specialty and aftermarket customers around the
world.

The acquisition of Meritor is expected to be immediately accretive to Cummins’
adjusted EPS and is expected to generate annual pre-tax run-rate synergies of
approximately $130 million by year three after closing. Cummins intends to finance
the transaction using a combination of cash on the company’s balance sheet and
debt and remains committed to maintaining its strong credit ratings.

The Board of Directors of Meritor has unanimously approved the agreement with
Cummins and recommends that Meritor shareholders vote in favor of the
transaction at the Special Meeting of Shareholders to be called in connection with
the transaction. The transaction, which is subject to customary closing conditions
and receipt of applicable regulatory approvals and Meritor shareholder approval, is
expected to close by the end of the calendar year.

Cummins will hold a call with analysts and investors at 9:30 AM EST today to
discuss the benefits of this transaction. Participating in that call will be Tom
Linebarger, Chairman and CEO of Cummins, and Mark Smith, Cummins’ Chief
Financial Officer and Chris Villavarayan, CEO and President of Meritor.




                                          6
         Case 1:22-cv-03797-NRB Document 1 Filed 05/10/22 Page 7 of 12




       Morgan Stanley & Co. LLC is serving as financial advisor to Cummins and Mayer
       Brown is serving as legal advisor. J.P. Morgan Securities LLC is serving as
       financial advisor to Meritor and Wachtell, Lipton, Rosen & Katz is serving as legal
       advisor.

The Materially Incomplete and Misleading Proxy Statement

       24.     On April 18, 2022, the Board caused to be filed a materially incomplete and

misleading Proxy Statement with the SEC. The Proxy Statement, which recommends that Meritor

stockholders vote their shares in favor of the Proposed Transaction, fails to disclose material

information to Company stockholders, or provides them with materially misleading information,

concerning: (i) the Company’s financial projections and the financial analyses that support the

fairness opinion provided by the Company’s financial advisor, J.P. Morgan; and (ii) potential

conflicts of interest faced by Company insiders.

Material Misrepresentations and/or Omissions Concerning Meritor’s Financial Projections and
J.P. Morgan’s Financial Analyses

       25.     The Proxy Statement fails to disclose material information concerning the financial

projections for Meritor.

       26.     With respect to Meritor management’s projections, the Proxy Statement fails to

disclose all line items underlying: (i) Adjusted EBITDA; and (ii) Unlevered free cash flow.

       27.     The Proxy Statement also fails to disclose material information concerning J.P.

Morgan’s financial analyses.

       28.     With respect to J.P. Morgan’s Discounted Cash Flow Analysis, the Proxy Statement

fails to disclose a quantification of: (i) the inputs and assumptions underlying the discount rates

ranging from 9.75% to 10.75%; and (ii) Meritor’s terminal values.




                                                   7
            Case 1:22-cv-03797-NRB Document 1 Filed 05/10/22 Page 8 of 12




        29.     With respect to J.P. Morgan’s Public Trading Multiples analysis, the Proxy

Statement fails to disclose the individual financial metrics for each of the selected companies

analyzed by J.P. Morgan.

        30.     With respect to J.P. Morgan’s Selected Transaction Analysis, the Proxy Statement

fails to disclose: (i) the individual financial metrics for each of the selected transactions analyzed

by J.P. Morgan; and (ii) the Company’s Adjusted EBITDA for the twelve months ended December

31, 2021.

        31.     With respect to J.P. Morgan’s Analyst Price Targets analysis, the Proxy Statement

fails to disclose: (i) the individual price targets observed; and (ii) the sources thereof.

Material Misrepresentations and/or Omissions Concerning Company Insiders’ Potential Conflicts
of Interest

        32.     The Proxy Statement fails to disclose material information concerning Company

insiders’ potential conflicts of interest.

        33.     For example, the Proxy Statement fails to disclose whether any members of Meritor

management have secured or are anticipated to secure future employment with the combined

company.

        34.     The Proxy Statement also fails to disclose the details of any employment and

retention-related discussions and negotiations that occurred between Meritor directors and officers

and Cummins, who participated in all such communications, when they occurred and their content.

The Proxy Statement similarly fails to disclose whether any of Cummins’ proposals or indications

of interest mentioned management retention in the combined company following the Proposed

Transaction or the purchase of or participation in the equity of the surviving corporation.

        35.     In sum, the omission of the above-referenced information renders statements in the

“Certain Meritor Unaudited Prospective Financial Information,” “Opinion of Meritor’s Financial




                                                   8
         Case 1:22-cv-03797-NRB Document 1 Filed 05/10/22 Page 9 of 12




Advisor,” “Background of the Merger,” and “Interests of Meritor’s Directors and Executive

Officers in the Merger” sections of the Proxy Statement materially incomplete and misleading in

contravention of the Exchange Act. Absent disclosure of the foregoing material information prior

to the stockholder vote, Plaintiff and the other stockholders of Meritor will be unable to make a

sufficiently informed decision in connection with the Proposed Transaction and are thus threatened

with irreparable harm warranting the injunctive relief sought herein.

                                     CLAIMS FOR RELIEF

                                             COUNT I

  Claims for Violation of Section 14(a) of the Exchange Act and Rule 14a-9 Promulgated
               Thereunder Against the Individual Defendants and Meritor

       36.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       37.     The Individual Defendants disseminated the false and misleading Proxy Statement,

which contained statements that, in light of the circumstances under which they were made,

omitted to state material facts necessary to make the statements therein not materially misleading,

in violation of Section 14(a) of the Exchange Act and Rule 14a-9. Meritor is liable as the issuer

of these statements.

       38.     The Proxy Statement was prepared, reviewed, and/or disseminated by the

Individual Defendants. By virtue of their positions within the Company, the Individual Defendants

were aware of this information and their duty to disclose this information in the Proxy Statement.

       39.     The Individual Defendants were at least negligent in filing the Proxy Statement

with these materially false and misleading statements.

       40.     The omissions and false and misleading statements in the Proxy Statement are

material in that a reasonable stockholder will consider them important in deciding how to vote on

the Proposed Transaction. In addition, a reasonable investor will view a full and accurate




                                                  9
         Case 1:22-cv-03797-NRB Document 1 Filed 05/10/22 Page 10 of 12




disclosure as significantly altering the total mix of information made available in the Proxy

Statement and in other information reasonably available to stockholders.

       41.     The Proxy Statement is an essential link in causing Plaintiff and the Company’s

stockholders to approve the Proposed Transaction.

       42.     By reason of the foregoing, defendants violated Section 14(a) of the Exchange Act

and Rule 14a-9 promulgated thereunder.

       43.     Because of the false and misleading statements in the Proxy Statement, Plaintiff is

threatened with irreparable harm.

                                            COUNT II

                  Claims for Violation of Section 20(a) of the Exchange Act
                             Against the Individual Defendants

       44.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       45.     The Individual Defendants acted as controlling persons of Meritor within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of Meritor and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the false statements contained in the Proxy Statement,

they had the power to influence and control and did influence and control, directly or indirectly,

the decision making of the Company, including the content and dissemination of the various

statements that Plaintiff contends are false and misleading.

       46.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy Statement alleged by Plaintiff to be misleading prior to and/or shortly after

these statements were issued and had the ability to prevent the issuance of the statements or cause

them to be corrected.




                                                 10
         Case 1:22-cv-03797-NRB Document 1 Filed 05/10/22 Page 11 of 12




       47.      In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control and influence the particular transactions giving rise to the violations as alleged

herein, and exercised the same. The Proxy Statement contains the unanimous recommendation of

the Individual Defendants to approve the Proposed Transaction. They were thus directly involved

in the making of the Proxy Statement.

       48.      By virtue of the foregoing, the Individual Defendants violated Section 20(a) of the

Exchange Act.

       49.      As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) of the Exchange

Act and Rule 14a-9, by their acts and omissions as alleged herein. By virtue of their positions as

controlling persons, these defendants are liable pursuant to Section 20(a) of the Exchange Act. As

a direct and proximate result of defendants’ conduct, Plaintiff is threatened with irreparable harm.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment and preliminary and permanent relief,

including injunctive relief, in her favor on behalf of Meritor, and against defendants, as follows:

       A.       Preliminarily and permanently enjoining defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction,

including the stockholder vote on the Proposed Transaction, unless and until defendants disclose

the material information identified above which has been omitted from the Proxy Statement;

       B.       In the event defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages to Plaintiff;




                                                  11
         Case 1:22-cv-03797-NRB Document 1 Filed 05/10/22 Page 12 of 12




       C.      Directing the Individual Defendants to file a Proxy Statement that does not contain

any untrue statements of material fact;

       D.      Awarding Plaintiff the costs of this action, including reasonable allowance for

Plaintiff’s attorneys’ and experts’ fees; and

       E.      Granting such other and further relief as this Court may deem just and proper.


                                          JURY DEMAND

       Plaintiff demands a trial by jury.



 Dated: May 10, 2022                                 ACOCELLI LAW, PLLC


                                                By /s/ Richard A. Acocelli
                                                   Richard A. Acocelli
                                                   33 Flying Point Road, Suite 131
                                                   Southampton, NY 11968
                                                   Tel: (631) 204-6187
                                                   Email: racocelli@acocellilaw.com

                                                     Attorneys for Plaintiff




                                                12
